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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA
MISSOULA DIVISION

CV 22—127-M—-DWM
IN RE: CONDITIONS AT LAKE
COUNTY JAIL

ORDER

The parties having moved jointly to stay proceedings and vacate the
scheduling order, (see Docs. 4, 115, 123),

IT IS ORDERED that the motion (Doc. 126) is GRANTED in PART and
DENIED in PART. The motion is GRANTED insofar as the motions deadline is
extended to November |, 2023. The motion is otherwise DENIED. No further
extensions of time will be granted and the trial schedule will remain in place until a

settlement, if any, is finalized.

DATED this 5” day of July, 2023.

Donald . Molloy, District Judge
United States District‘Court
